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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                   )          8:06CR182
                                            )
             Plaintiff,                     )
                                            )          ORDER
v.                                          )
                                            )
LEOPOLDO MEJIA,                             )
                                            )
             Defendant.                     )



      UPON THE ORAL MOTION OF THE DEFENDANT and no objection from the
government,

       IT IS ORDERED that the Change of Plea hearing is continued to December 7,
2006 at 3:00 p.m. before Magistrate Judge F.A. Gossett, Courtroom No. 6, Second
Floor, Roman L. Hruska U.S. Courthouse, 111 So. 18 th Plaza, Omaha, Nebraska.

       For this defendant, the time between November 14, 2006 and the hearing on
the anticipated plea of guilty is excluded for purposes of computing the limits under the
Speedy Trial Act. See 18 U.S.C. § 3161(h)(1)(I)&(h)(8)(A)(B).

      Since this is a criminal case, the defendant must be present, unless excused by
the Court.

      DATED this 14th day of November, 2006.

                                         BY THE COURT:


                                         s/ F.A. Gossett
                                         United States Magistrate Judge
